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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


 Civil Action No.

 LENA JONES and JOHN JONES,

        Plaintiffs,

                v.

 ZWICKER AND ASSOCIATES, P.C.,

        Defendant.



              PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL


                                 PLAINTIFFS’ COMPLAINT

        LENA JONES and JOHN JONES (Plaintiffs), through their attorneys, KROHN &

 MOSS, LTD., alleges the following against ZWICKER AND ASSOCIATES, P.C. (Defendant):

                                      INTRODUCTION

    1. Plaintiffs’ Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

        et seq. (FDCPA).

    2. Defendant acted through its agents, employees, officers, members, directors, heirs,

        successors, assigns, principals, trustees, sureties, subrogees, representatives, and

        insurers.




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                                JURISDICTION AND VENUE

    3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

    4. Defendant conducts business in the state of Colorado, and therefore, personal

       jurisdiction is established.

    5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

    6. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                            PARTIES

    7. Plaintiffs are natural persons residing in Commerce City, Adams County, Colorado.

    8. Plaintiffs are consumers as that term is defined by 15 U.S.C. 1692a(3), and according to

       Defendant, Plaintiffs allegedly owe a debt as that term is defined by 15 U.S.C. 1692a(5).

    9. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

       to collect a consumer debt from Plaintiffs.

    10. Defendant is a debt collection law firm with its principal place of business in Andover,

       Essex County, Massachusetts.

    11. Defendant is a debt collection law firm that in the ordinary course of business, regularly,

       on behalf of itself or others, engages in debt collection.

                                  FACTUAL ALLEGATIONS
    12. Defendant constantly and continuously placed collection calls to Plaintiffs seeking and

       demanding payment for an alleged debt (see Plaintiff’s, LENA JONES’S, e-mail

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       attached as Exhibit A).

    13. Defendant failed to send Plaintiffs a debt validation letter.

    14. Defendant threatened to file a lawsuit against Plaintiffs.

    15. Defendant threatened to garnish Plaintiffs’ checking account.

    16. Defendant called Plaintiff, JOHN JONES, at work, even though Plaintiff, JOHN JONES,

       told Defendant to stop calling him at work.

                              COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

    17. Defendant violated the FDCPA based on the following:

           a. Defendant violated §1692c(a)(1) of the FDCPA by calling Plaintiff, JOHN

               JONES, at work even though the debt collector knew or had reason to know that

               Plaintiff’s, JOHN JONES’S, employer prohibit Plaintiff, JOHN JONES, from

               receiving such calls.

           b. Defendant violated §1692c(a)(3) of the FDCPA by calling Plaintiff, JOHN

               JONES, at work even though the debt collector knew or had reason to know that

               Plaintiff’s, JOHN JONES’S, employer prohibit Plaintiff, JOHN JONES, from

               receiving such calls.

           c. Defendant violated §1692d of the FDCPA by engaging in conduct that the

               natural consequences of which was to harass, oppress, and abuse Plaintiff in

               connection with the collection of an alleged debt.

           d. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

               repeatedly and continuously with the intent to annoy, abuse, and harass Plaintiffs.

           e. Defendant violated §1692e of the FDCPA by using false, deceptive, and
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             misleading representations in connection with the collection of any debt.

          f. Defendant violated §1692e(4) of the FDCPA threatening to garnish Plaintiffs’

             checking account if they did not pay their debt even though Defendant has not

             and does not intend to do so.

          g. Defendant violated §1692e(5) of the FDCPA threatening to take legal action

             against Plaintiffs even though Defendant has not and does not intend to do so.

          h. Defendant violated §1692e(10) of the FDCPA by falsely representing and using

             deceptive means in an attempt to collect a debt.

          i. Defendant violated §1692g(a)(1-5) by failing to provide appropriate notice of the

             debt within 5 days after the initial communication including: (1) the amount of

             the debt; (2) the name of the creditor to whom the debt is owed; (3) a statement

             that unless the consumer, within 30 days after receipt of the notice, disputes the

             validity of the debt, or any portion thereof, the debt will be assumed to be valid

             by the debt collector; (4) a statement that if the consumer notifies the debt

             collector in writing within the 30-day period that the debt, or any portion thereof,

             is disputed, the debt collector will obtain verification of the debt or a copy of a

             judgment against the consumer and a copy of such verification or judgment will

             be mailed to the consumer by the debt collector; and (5) a statement that, upon

             the consumer’s written request within the 30-day period, the debt collector will

             provide the consumer with the name and address of the original creditor, if

             different from the current creditor.



    WHEREFORE, Plaintiffs, LENA JONES and JOHN JONES, respectfully request judgment
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 be entered against Defendant, ZWICKER AND ASSOCIATES, P.C., for the following:
    18. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection

        Practices Act,

    19. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

        U.S.C. 1692k,

    20. Actual damages,

    21. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

        15 U.S.C. 1692k

    22. Any other relief that this Honorable Court deems appropriate.

                               DEMAND FOR JURY TRIAL

    Plaintiffs, LENA JONES and JOHN JONES, request a jury trial in this case.


 DATED: October 2, 2009                     KROHN & MOSS, LTD.

                                     By:    /s/ Nicholas J. Bontrager_
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                             EXHIBIT A




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